 Fill in this information to identify your case:

 Debtor 1                Latavia N Estelle
                         First Name                        Middle Name                       Last Name

 Debtor 2                Quintel L Estelle
 (Spouse if, filing)     First Name                        Middle Name                       Last Name


 United States Bankruptcy Court for the:             NORTHERN DISTRICT OF OHIO

 Case number           18-31970
 (if known)




Official Form 423
Certification About a Financial Management Course                                                                                                  12/15
If you are an individual, you must take an approved course about personal financial management if:
 you filed for bankruptcy under chapter 7 or 13, or
 you filed for bankruptcy under chapter 11 and § 1141 (d)(3) does not apply.
In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).
After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If
the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each
file this form with the certificate number before your debts will be discharged.
    If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
     Bankruptcy Code.
    If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or before you file a
     motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file
a motion with the court and obtain a court order.
 Part 1: Tell the Court About the Required Course.

 You must check one:

             I completed an approved course in personal financial management:
              Date I took the course              09/24/2018
                                                     MM/ DD / YYYY
              Name of approved provider           MoneySharp Credit Counseling
              Certificate Number                  13858-OHN-DE-031661525

             I am not required to complete a course in personal financial management because the court has granted my
              motion for a waiver of the requirement based on (check one):

               Incapacity.           I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions about
                                      finances.

               Disability.           My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                      phone, or through the internet, even after I reasonably tried to do so.

               Active duty.          I am currently on active military duty in a military combat zone.


               Residence.            I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                      instructional courses cannot adequately meet my needs.

 Part 2: Sign Here

 I certify that the information I have provided is true and correct.

     /s/ Quintel L Estelle                                                          Quintel L Estelle                  Date   October 9, 2018
     Signature of debtor named on certificate                                       Printed name of debtor                    MM / DD / YYY




Official Form 423                                                  Certification About a Financial Management Course
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